Case:16-08404-MCF12 Doc#:196 Filed:01/08/20 Entered:01/08/20 12:11:24                                      Desc: Main
                           Document Page 1 of 2


                             IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF PUERTO RICO

 IN RE:                                                          CASE NO.: 16-08404 (MCF)

 KARISOLET HEIFERS, INC.                                         CHAPTER 12

          Debtor

        LIMITED OBJECTION TO DEBTOR’S MOTION TO INFORM LEASE MILK QUOTA
                               (Related Docket No. 182)

  TO THE HONORABLE COURT:

              COMES NOW secured creditor PR Recovery and Development JV, LLC (“PR

   Recovery”), through its undersigned counsel, and respectfully states and prays as follows:

          1.       On November 26, 2019, the Debtor filed a Motion to Inform Lease Milk Quota

  (the “Motion for Lease of Milk Quota”, Docket No. 182)1 alleging that the it is the “sole owner of

  100,000 quarts [of] milk quota with ORIL with license number 3424, of which 75,000 quarts

  has a lien in favor of PR Recovery and Development JV, LLC”. Id., p. 1, ¶ 7 (emphasis

  added).

          2.       We begin by clarifying that the Debtor’s milk quota is not in the amount of

  100,000 quarts, but 100,840 instead. See Schedule A, Docket No. 1, p. 10, ¶ 32.

          3.       While PR Recovery does not object to the request to lease the milk quota per

  se, we do object to the Debtor’s representation that PR Recovery only has a partial lien over

  only 75,000 quarts. The foregoing should not alter or be construed as a release or waiver to

  any prior cash collateral agreement between PR Recovery and the Debtor and/or defense by

  PR Recovery to the use of cash collateral.

          4.       Contrary to the Debtor’s assertion, PR Recovery does not have a partial lien, but

  rather has a full lien over the totality of the Debtor’s milk quota in the amount of 100,840 quarts




          1 Although the deadline to file an opposition to the Motion for Lease of Milk Quota was due on January 7,
  2020 (Docket No. 193), it was extended by virtue of the Court’s closing in Notice No. 20-01 due to the earthquakes in
  Puerto Rico that occurred from January 6-7, 2020. See Fed. R. Bankr. P. 9006(a)(3).
Case:16-08404-MCF12 Doc#:196 Filed:01/08/20 Entered:01/08/20 12:11:24                       Desc: Main
                           Document Page 2 of 2


  biweekly. The Debtor so acknowledged it in Schedule D (Docket No. 1, p. 13, ¶ 2.1). Also see

  Proof of Claim No. 3-1, Parts 23-25.

         5.      PR Recovery’s Proof of Claim No. 3 has not been objected and is therefore

  deemed allowed pursuant to Section 502(a) of the Bankruptcy Code.

         WHEREFORE, PR Recovery respectfully requests the Court to take notice of the

  foregoing and apply these corrections to any order related to the Debtor’s Motion for Lease of

  Milk Quota (Docket No. 182).

         RESPECTFULLY SUBMITTED.

         In San Juan, Puerto Rico, on this 8th day of January, 2020.

                                         Certificate of Service
  I hereby certify on this same date, I electronically filed the foregoing with the Clerk of the Court
  using the CM/ECF system, which will send notification of such filing to all CM/ECF participants
  in this case.



                                                                          Attorneys for PR Recovery
                                                                                     PO Box 195168
                                                                          San Juan, PR 00919-5168
                                                                           Telephone: 787.766.7000
                                                                            Facsimile: 787.766.7001

                                                                              /s/ Sonia Colón Colón
                                                                                  Sonia Colón Colón
                                                                              USDC-PR No. 213809
                                                                              scolon@ferraiuoli.com

                                                                          /s/ Gustavo A. Chico-Barris
                                                                              Gustavo A. Chico-Barris
                                                                               USDC-PR No. 224205
                                                                              gchico@ferraiuoli.com

                                                                             /s/ Camille N. Somoza
                                                                                 Camille N. Somoza
                                                                             USDC-PR No. 302908
                                                                           csomoza@ferraiuoli.com




                                                       2
